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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                           NORTHERN DIVISION

RALPH WOODS,                              )
                                          )
         Plaintiff,                       )
                                          )
v.                                        )          No. 2:22-CV-83 HEA
                                          )
CORTEX TRANSPORT, INC.,                   )
                                          )
          Defendant,                      )
                                          )

                  OPINION, MEMORANDUM AND ORDER

      This matter is before the Court on Plaintiff’s Motion to Quash, [Doc. No.

42]. Defendant opposes the motion. For the reasons set forth below, the motion

will be denied.

                              Facts and Background

      Plaintiff brought this action to recover damages which allegedly resulted

from a vehicular collision wherein a tractor trailer driven by an employee of

Defendant collided with Plaintiff’s vehicle. Plaintiff’s Complaint alleges injuries to

his neck and back. Plaintiff claims past and future pain and suffering, medical care

and future surgical intervention. Defendant has subpoenaed Plaintiff’s medical

records from the Missouri Department of Corrections from 2012 to the present.

Plaintiff argues the subpoena seeks privileged documentation and is overbroad in

scope and timeframe, and therefore has moved to quash the subpoena.
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                                  Legal Standard

      Under the federal rules, parties “may obtain discovery regarding any

nonprivileged matter that is relevant to any party's claim or defense and

proportional to the needs of the case, considering the importance of the issues at

stake in the action, the amount in controversy, the parties’ relative access to

relevant information, the parties’ resources, the importance of the discovery in

resolving the issues, and whether the burden or expense of the proposed discovery

outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(1). “Information within this

scope of discovery need not be admissible in evidence to be discoverable.” Id. In

turn, Federal Rule 45(d)(3)(A) provides: “On timely motion, the court for the

district where compliance is required must quash or modify a subpoena that

      (i) fails to allow a reasonable time to comply;
      (ii) requires a person to comply beyond the geographical limits specified in
      Rule 45(c);
      (iii) requires disclosure of privileged or other protected matter, if no
      exception or waiver applies; or
      (iv) subjects a person to undue burden.

Fed. R. Civ. P. 45(d)(3)(A). “’In short, the undue burden standard of Rule 45 calls

for a balancing test that pits the relevance of and need for the testimony (on one

side of the scale) against the burdens associated with supplying the testimony (on

the other side of the scale).’” Johnson v. Jefferson Cnty., Missouri, No. 4:22-CV-

00375-JSD, 2023 WL 5377565, at *1–2 (E.D. Mo. Aug. 22, 2023)(quoting


                                           2
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Arkansas State Conf. NAACP v. Arkansas Bd. of Apportionment, No. 4:21-CV-

01239-LPR, 2022 WL 300917, at *6 (E.D. Ark. Jan. 31, 2022).

                                      Discussion

      Plaintiff alleges injury to his neck and low back. He claims he has suffered

permanent and disabling injuries as a direct result of the incident. He contends he

has required, and will continue to require, medical treatment and future surgical

intervention.

      Plaintiff claims that the subpoenaed documents should be limited to these

alleged physical injuries. Plaintiff has not provided any authorizations for medical

records to Defendant.

       Under Missouri law, medical records are protected by the physician-patient

testimonial privilege codified in Rev. Stat. Mo. § 491.060(5). State ex rel. Stecher

v. Dowd, 912 S.W.2d 462, 464 (Mo. banc 1995). However, by bringing this

lawsuit, plaintiff put his physical condition into issue and thereby waived the

physician-patient privilege to the extent the subject medical records bear on the

issue. Id. While the pleadings in a case may limit the scope of permissible

disclosure of otherwise privileged medical records, id., the record of this action

indicates that plaintiff alleges he has suffered substantial injuries.

      However, a defendant's request for medical records, to avoid being too

broad, must be limited to a relevant period and directed to specific, relevant

sources. State ex rel. Jones v. Syler, 936 S.W.2d 805, 808 (Mo. banc 1997); see
                                            3
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also Roberson v. Target Corp., No. 4:17 CV 2277 DDN, 2019 WL 13206943, at

*1–2 (E.D. Mo. Feb. 12, 2019)

       The Court finds that Plaintiff has put his physical health at issue in this

lawsuit, making his medical treatment records discoverable. Further, the Court

determines that production of these documents is not precluded by any privilege

recognized by federal courts. See Johnson v. Jefferson Cnty., Missouri, No. 4:22-

CV-00375-JSD, 2023 WL 5377565, at *1–2 (E.D. Mo. Aug. 22, 2023)(citing

Heilman v. Waldron, 287 F.R.D. 467, 473 (D. Minn. 2012) (“Federal courts have

consistently refused to recognize a federal physician-patient privilege, and the

Advisory Committee Notes to the Federal Rules of Evidence concluded that there

is ‘little if any basis’ for such a privilege.”).

       Although Plaintiff argues the subpoena is overly broad in scope and time,

Plaintiff does not give detail other than to state he was not incarcerated and did not

work for the Department of Corrections at the time of the incident. Defendant’s

subpoena is however limited in scope and time by virtue of the time Plaintiff spent

within the Department.

                                        Conclusion

       The Court holds Plaintiff's Motion to Quash is denied. The Court orders the

Missouri Department of Corrections to produce the requested records that relate to

Plaintiff's back and neck from 2012 to present.


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      Accordingly,

      IT IS HEREBY ORDERED that Plaintiff’s Motion to Quash, [Doc. No.

42], is DENIED.

      Dated this 27th day of November, 2024.




                              ________________________________
                                 HENRY EDWARD AUTREY
                              UNITED STATES DISTRICT JUDGE




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